
ORDER ON MANDATE
PER CURIAM.
WHEREAS, the judgment of this court was entered on July 27, 1976 (336 So.2d 1190) affirming the summary final judgment of the circuit court of Dade County, in the above styled cause; and
WHEREAS, on review of this court’s judgment, by certiorari, the Supreme Court of Florida by its opinion and judgment filed September 8, 1977, 351 So.2d 29, and mandate now lodged in this court, quashed this court’s judgment;
NOW, THEREFORE, It is Ordered that the mandate of this court heretofore issued in this cause on September 1, 1976 is withdrawn, the judgment of this court filed July 27,1976 is vacated and the said opinion and judgment of the Supreme Court of Florida is herewith made the opinion and judgment of this court, the summary final judgment of the trial court appealed herein is reversed and the cause is remanded for further proceedings not inconsistent with the opinion and judgment of the Supreme Court of Florida. Costs allowed shall be taxed in the trial court (Rule 3.16(b), Florida Appellate Rules).
